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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.

 AMANDA RAMIREZ, individually and on
 behalf of all others similarly situated,
                                                                CLASS ACTION
       Plaintiff,
                                                                JURY TRIAL DEMANDED
 vs.

 ROWAN, INC.,

   Defendant.
 ____________________________________/


                                     CLASS ACTION COMPLAINT

           Plaintiff Amanda Ramirez (“Plaintiff”), brings this class action against Defendant, Rowan,

 Inc. (“Defendant”), and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own

 acts and experiences, and, as to all other matters, upon information and belief, including investigation

 conducted by Plaintiff’s attorneys.

                                       NATURE OF THE ACTION

           1.       This is a class action under the Florida Telephone Solicitation Act (“FTSA”), Fla.

 Stat. § 501.059.

           2.       Defendant is an online jewelry retailer.

           3.       To promote its goods and services, Defendant engages in aggressive telephonic

 sales calls to consumers without having secured prior express written consent as required under

 the FTSA.
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        4.      Defendant’s telephonic sales calls have caused Plaintiff and the Class members

 harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

 invasion of their privacy.

        5.      Through this action, Plaintiff seeks an injunction and statutory damages on behalf

 of herself and the Class members, as defined below, and any other available legal or equitable

 remedies resulting from the unlawful actions of Defendant.

                                              PARTIES

        6.      Plaintiff is a natural person who, at all times relevant to this action, was a resident

 of Miami-Dade County, Florida.

        7.      Plaintiff is, and at all times relevant hereto was, an individual and a “called party”

 as defined by Fla. Stat. § 501.059(1)(a) in that she was the regular user of telephone number 786-

 ***-3373 (the “3373 Number”) that received Defendant’s telephonic sales calls.

        8.      Defendant is, and at all times relevant hereto was, a Delaware corporation and a

 “telephone solicitor” as defined by Fla. Stat. § 501.059(f). Defendant maintains its primary place

 of business and headquarters in New York, NY. Defendant directs, markets, and provides business

 activities throughout the State of Florida and the United States.

                                  JURISDICTION AND VENUE

        9.      Jurisdiction is proper under 28 U.S.C. § 1332 as the amount in controversy exceeds

 the sum of $75,000. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff

 alleges a class, which will result in at least one class member belonging to a different state than

 that of Defendant. Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages

 for each call in violation of the FTSA, which, when aggregated among a proposed class numbering

 in the tens of thousands, or more, exceeds the $5,000,000.00 (five-million dollars) threshold for



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 federal court jurisdiction under the Class Action Fairness Act (“CAFA”). Therefore, both the

 elements of diversity jurisdiction and CAFA jurisdiction are present.

         10.      Defendant is subject to specific personal jurisdiction in Florida because this suit

 arises out of and relates to Defendant’s significant contacts with this State. Defendant initiated and

 directed, or caused to be initiated and directed, calls into Florida in violation of the FTSA.

 Specifically, Defendant initiated and directed, or caused to be initiated and directed, the

 transmission of calls into Florida. Plaintiff’s claims for violation of the FTSA against Defendant,

 and the resulting injuries caused to Plaintiff by Defendant’s calls, which includes the invasion of

 Plaintiff’s privacy, arose in substantial part from Defendant’s direction of those messages into

 Florida.

         11.     Venue is proper in the United States District Court for the Southern District of

 Florida pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any

 judicial district in which it is subject to the court’s personal jurisdiction, and because Defendant

 provides and markets its services within this district thereby establishing sufficient contacts to

 subject it to personal jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred

 within the State of Florida and, on information and belief, Defendant has sent the same messages

 complained of by Plaintiff to other individuals within this judicial district, such that some of

 Defendant’s acts in making such calls have occurred within this district, subjecting Defendant to

 jurisdiction in the State of Florida.

                                               FACTS

         12.     Over the past year, Defendant began bombarding Plaintiff with telephonic sales

 calls to Plaintiff’s cellular telephone number including but not limited to the below on June 30,

 2022, and July 4, 2022:



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        13.     As demonstrated by the above screenshot, the purpose of Defendant’s telephonic

 sales calls was to solicit the sale of consumer goods and/or services. The messages contained

 language such as “VIP Access Alert! Get 15% off with Fireworks15 and a free bucket hat with

 your purchase of $100 or more.”

        14.     Defendant’s calls were transmitted to Plaintiff’s cellular telephone, and within the

 time frame relevant to this action.

        15.     Defendant’s calls constitute telemarketing because they encouraged the future

 purchase or investment in property, goods, or services, i.e., selling Plaintiff jewelry.

        16.     At no point in time did Plaintiff provide Defendant with her express written consent

 to be contacted.




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         17.     To constitute valid consent under Florida law, the called party must, inter alia,

 “[c]learly authorize[] the person making or allowing the placement of a telephonic sales call” to

 place such call “using an automated system for the selection or dialing of telephone numbers[.]”

 Fla. Stat. § 501.059(1)(g).

         18.     Upon information and belief, Defendant caused similar telephonic sales calls to be

 sent to individuals residing in Florida and throughout the United States.

         19.     Upon information and belief, Defendant maintains and/or has access to outbound

 transmission reports for all text messages sent advertising/promoting its services and goods. These

 reports show the dates, times, target telephone numbers, and content of each message sent to

 Plaintiff and the Class members.

         20.     Plaintiff is the regular user of the telephone number that received the above

 telephonic sales calls.

         21.     To send the text messages, Defendant used a messaging platform (the “Platform”),

 which permitted Defendant to transmit blasts of text messages automatically and without any

 human involvement. The Platform automatically made a series of calls to Plaintiff’s and the Class

 members’ stored telephone numbers with no human involvement after the series of calls were

 initiated utilizing the Platform.

         22.     Defendant was not required to and did not need to utilize the Platform to send

 messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

 maximize the reach of its text message advertisements at a nominal cost to Defendant.

         23.     Defendant would be able to conduct its business operations without sending

 automated text messages to consumers.




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        24.     Defendant would be able to send automated text messages to consumers, and in

 compliance with the FTSA, by securing the proper consent from consumers prior to sending text

 messages.

        25.     Defendant would be able to send text messages to consumers without consent by

 utilizing a non-automated text messaging system.

        26.     Accordingly, it is not impossible for Defendant to comply with the FTSA in the

 context of transmitting text messages.

        27.     The burden and cost to Defendant of securing consent from consumers that

 complies with the FTSA is nominal.

        28.     Compliance with the FTSA will not result in Defendant having to cease its business

 operations.

        29.     Compliance with the FTSA will not result in Defendant having the alter the prices

 of any goods or services it provides in the marketplace.

        30.     Compliance with the FTSA will not force Defendant to seek regulatory approval

 from the State of Florida before undertaking any type of commercial transaction.

        31.     The Platform has the capacity to select and dial numbers automatically from a list

 of numbers, which was in fact utilized by Defendant.

        32.     The Platform has the capacity to schedule the time and date for future transmission

 of text messages, which was in fact utilized by Defendant.

        33.     The Platform also has an auto-reply function that results in the automatic

 transmission of text messages.




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        34.     Plaintiff never provided Defendant with express written consent authorizing

 Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

 automated system for the selection or dialing of telephone numbers.

        35.     More specifically, Plaintiffs never signed any type of authorization permitting or

 allowing the placement of telephonic sales calls by text message using an automated system for

 the selection and dialing of telephone numbers.

        36.     Plaintiff never provided Defendant with express written consent authorizing

 Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

 automated system for the selection or dialing of telephone numbers.

        37.     The text messages originated from telephone number 73528, a number which upon

 information and belief is owned and operated by Defendant or on behalf of Defendant.

        38.     Defendant’s telephonic sales calls caused Plaintiff and the Class members harm,

 including statutory damages, inconvenience, invasion of privacy, aggravation, annoyance, and

 wasted time.

                                      CLASS ALLEGATIONS

        PROPOSED CLASS

        39.     Plaintiff brings this lawsuit as a class action on behalf of herself individually and

 on behalf of all other similarly situated persons as a class action pursuant to Fed. R. Civ. P. 23.

 The “Class” that Plaintiff seeks to represent is defined as:

                All persons in Florida who (1) were sent a telephonic sales call
                regarding Defendant’s goods and/or services, (2) using the same
                equipment or type of equipment utilized to call Plaintiff, within the
                time period of four years prior to the filing of the original
                Complaint through the date on which an Order granting class
                certification is entered.




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        40.     Defendant and its employees or agents are excluded from the Class. Plaintiff does

 not know the exact number of members in the Class but believes the Class members number in the

 several thousands, if not more.

        NUMEROSITY

        41.     Upon information and belief, Defendant has placed telephonic sales calls to

 telephone numbers belonging to thousands of consumers via an automated dialer without their

 prior express written consent. The members of the Class, therefore, are believed to be so numerous

 that joinder of all members is impracticable.

        42.     The exact number and identities of the Class members are unknown at this time and

 can be ascertained only through discovery. Identification of the Class members is a matter capable

 of ministerial determination from Defendant’s call records.

        COMMON QUESTIONS OF LAW AND FACT

        43.     There are numerous questions of law and fact common to the Class which

 predominate over any questions affecting only individual members of the Class. Among the

 questions of law and fact common to the Class are:

        [i] Whether Defendant initiated telephonic sales calls to Plaintiff and the Class members;

        [ii] Whether Defendant can meet its burden of showing that it had prior express written

        consent to make such calls;

        [iii] Whether Defendant utilized an automated system for the dialing or selection of

        numbers to be called;

        [iv] Whether Defendant’s conduct was knowing and willful; and

        [v] Whether Defendant is liable for damages, and the amount of such damages.




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        44.     The common questions in this case are capable of common answers. If Plaintiff’s

 claim that Defendant routinely transmits telephonic sales calls without prior express written

 consent is accurate, Plaintiff and the Class members will have identical claims capable of being

 efficiently adjudicated and administered in this case.

        TYPICALITY

        45.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

 based on the same factual and legal theories and Plaintiff is not subject to unique affirmative

 defenses that threaten to dominate the litigation.

        PROTECTING THE INTERESTS OF THE CLASS MEMBERS

        46.     Plaintiff is a representative who will fully and adequately assert and protect the

 interests of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate

 representative and will fairly and adequately protect the interests of the Class. The undersigned are

 experienced class action litigators, including in the specific context of the FTSA, and neither

 Plaintiff nor the undersigned have any interests in conflict with those of the putative Class.

        SUPERIORITY AND PREDOMINANCE

        47.     A class action is superior to all other available methods for the fair and efficient

 adjudication of this lawsuit because individual litigation of the claims of all members of the Class

 is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

 by the Class are in the millions of dollars, the individual damages incurred by each member of the

 Class resulting from Defendant’s wrongful conduct are too small (at most $1,500.00) to warrant

 the expense of individual lawsuits. The likelihood of individual Class members prosecuting their

 own separate claims is remote, and, even if every member of the Class could afford individual

 litigation, the court system would be unduly burdened by individual litigation of such cases.



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            48.   The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

  example, one court might enjoin Defendant from performing the challenged acts, whereas another

  may not. Additionally, individual actions may be dispositive of the interests of the Class, although

  certain class members are not parties to such actions.

            49.   Moreover, the previously articulated common questions predominate over

  individual questions. Defendant used the same automated system to send materially identical

  telemarketing messages to all members of the putative Class. Whether the fact that Class members

  provided information into a generic data harvesting lead generator constitutes valid consent within

  the meaning of the FTSA is a question the answer to which is equally applicable to all members

  of the Class. As such, there are no material individual questions at all—but even if there were, they

  certainly do not predominate over the common questions.

                                              COUNT I
                              VIOLATION OF FLA. STAT. § 501.059
                            (On Behalf of Plaintiff and the Putative Class)

            50.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

  herein.

            51.   It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

  be made if such call involves an automated system for the selection or dialing of telephone numbers

  or the playing of a recorded message when a connection is completed to a number called without

  the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).

            52.   A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

  transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

  soliciting an extension of credit for consumer goods or services, or obtaining information that will



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  or may be used for the direct solicitation of a sale of consumer goods or services or an extension

  of credit for such purposes.” Fla. Stat. § 501.059(1)(g).

          53.     “Prior express written consent” means an agreement in writing that:

                  1. Bears the signature of the called party;

                  2. Clearly authorizes the person making or allowing the placement of a telephonic
                     sales call by telephone call, text message, or voicemail transmission to deliver
                     or cause to be delivered to the called party a telephonic sales call using an
                     automated system for the selection or dialing of telephone numbers, the playing
                     of a recorded message when a connection is completed to a number called, or
                     the transmission of a prerecorded voicemail;

                  3. Includes the telephone number to which the signatory authorizes a telephonic
                     sales call to be delivered; and

                  4. Includes a clear and conspicuous disclosure informing the called party that:

                          a. By executing the agreement, the called party authorizes the person
                             making or allowing the placement of a telephonic sales call to deliver or
                             cause to be delivered a telephonic sales call to the called party using an
                             automated system for the selection or dialing of telephone numbers or
                             the playing of a recorded message when a connection is completed to a
                             number called; and

                          b. He or she is not required to directly or indirectly sign the written
                             agreement or to agree to enter into such an agreement as a condition of
                             purchasing any property, goods, or services.

  Fla. Stat. § 501.059(1)(g).

          54.     Defendant failed to secure prior express written consent within the meaning of the

  FTSA from Plaintiff and the Class members.

          55.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

  sales calls to be made to Plaintiff and the Class members without their prior express written

  consent.




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            56.      Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

  and the Class members to be made utilizing an automated system for the selection or dialing of

  telephone numbers.

            57.      As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

  Plaintiff and Class members were harmed and are each entitled to a minimum of $500.00 in

  damages for each violation. Plaintiff and the Class members are also entitled to an injunction

  against future calls. Id.

                                            PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

  relief:

                  a) An order certifying this case as a class action on behalf of the Class as defined above,

                     and appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class

                     Counsel;

                  b) An award of statutory damages for Plaintiff and each member of the Class, including

                     treble damages;

                  c) An order declaring that Defendant’s actions, as set out above, violate the FTSA;

                  d) An injunction requiring Defendant to cease all telephonic sales calls made without valid

                     consent under the FTSA, and to otherwise protect the interests of the Class;

                  e) Such further and other relief as the Court deems necessary.

                                                JURY DEMAND

            Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                                 DOCUMENT PRESERVATION DEMAND




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          Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases, or other itemization of telephone numbers associated with the communications or transmittal

  of the calls as alleged herein.



  Dated: August 9, 2022                           Respectfully submitted,

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